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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


         UNITED STATES OF AMERICA,



               v.                                               Case 1:19-cr-00018-ABJ


         ROGER J. STONE, JR.

                     Defendant.
         ___________________________________________/


            MOTION FOR PRO HAC VICE ADMISSION OF SETH GINSBERG

   Under this Court’s Local Criminal Rule 44.1(d), I, Robert Buschel, counsel for defendant

Roger Stone, respectfully move that the Court permit Seth Ginsberg to appear pro hac vice as

counsel for defendant Roger Stone. Mr. Ginsberg’s declaration and a proposed order are at-

tached to this motion.

Dated:    February 13, 2020                    Respectfully submitted,

                                               /s/ Robert C. Buschel
                                               Robert C. Buschel (DDC Bar No. FL0039)
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                                               Counsel for Roger Stone
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                                 CERTIFICATE OF SERVICE

   I certify that on February 13, 2020, I electronically filed the foregoing with the Clerk of Court

using the CM/ECF system, which will send a notice of electronic filing to all registered parties.



Dated:   February 13, 2020                      /s/ Robert Buschel

                                                Counsel for Roger Stone
